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                                                             7
                                                             8                        UNITED STATES DISTRICT COURT
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                       300 SOUTH GRAND AVENUE, SUITE 1300




                                                             9        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                          LOS ANGELES, CALIFORNIA 90071
                             TELEPHONE (213) 426-2000




                                                            10
                                                            11 KENNETH EARL MOORE,                         CASE NO. 2:19-cv-08946-DSF(JPRx)
                                                            12               Plaintiff,                    DEFENDANT SERGEANT INDIA
                                                                                                           INEZ’S ANSWER TO PLAINTIFF’S
                                                            13        v.                                   THIRD AMENDED COMPLAINT;
                                                                                                           DEMAND FOR JURY TRIAL
                                                            14 CERRITOS, DEPUTY SHERIFF, LOS
                                                               ANGELES COUNTY SHERIFF                      [Assigned to Judge Dale S. Fischer,
                                                            15 DEPARTMENT, and INEZ,                       Courtroom “7D”]
                                                               SERGEANT, LOS ANGELES
                                                            16 COUNTY SHERIFF DEPARTMENT,                  Action Filed:   10/17/19
                                                                                                           FAC Filed:      01/13/20
                                                            17               Defendants.                   SAC Filed:      10/26/20
                                                                                                           TAC Filed:      02/07/21
                                                            18
                                                            19 TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD HEREIN:
                                                            20        Defendant SERGEANT INDIA INEZ (hereinafter referred to as “Defendant”)
                                                            21 for herself alone and for no other persons, entities, firms or corporations, hereby
                                                            22 answers to Plaintiff KENNETH EARL MOORE’s (hereinafter referred to as
                                                            23 “Plaintiff”) Third Amended Complaint (“TAC”) as follows:
                                                            24                             JURISDICTION AND VENUE
                                                            25        1.     Answering paragraph number 1 of Plaintiff’s TAC (under the header
                                                            26 “Jurisdiction and Venue”), Defendant acknowledges that Plaintiff alleges violations
                                                            27 of various laws of the United States Constitution.
                                                            28        2.     Answering paragraph number 2 of Plaintiff’s TAC (under the header
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                                                             1 “Jurisdiction and Venue”), Defendant admits that venue is proper and that the
                                                             2 alleged incidents forming the basis of Plaintiff’s allegations occurred within the
                                                             3 general area of the city of Los Angeles.
                                                             4                                       PARTIES
                                                             5        3.     Answering paragraph number 3 of Plaintiff’s TAC (under the header
                                                             6 “Parties”), Defendant does not have sufficient knowledge, or information or belief,
                                                             7 to enable Defendant to answer the allegations contained within such paragraph, as
                                                             8 stated, and on those grounds denies generally and specifically each and every one of
                                                             9 the allegations contained therein.
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                                                            10        4.     Answering paragraph number 4 of Plaintiff’s TAC (under the header
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                                                            11 “Parties”), Defendant admits that Defendant CERRITOS was a Deputy Sheriff with
                                                            12 the Los Angeles County Sheriff’s Department (“LASD”). As to the remaining
                                                            13 allegations set forth under paragraph number 4, Defendant does not have sufficient
                                                            14 knowledge, or information or belief, to enable Defendant to answer the allegations
                                                            15 contained within such paragraph, as stated, and on those grounds denies generally
                                                            16 and specifically each and every one of the allegations contained therein.
                                                            17        5.     Answering paragraph number 5 of Plaintiff’s TAC (under the header
                                                            18 “Parties”), Defendant admits that she is a peace officer employed by LASD.
                                                            19 Defendant admits that she was acting under color of state law and in the course and
                                                            20 scope of her employment with LASD at all relevant times.
                                                            21        6.     Answering paragraph number 6 of Plaintiff’s TAC (under the header
                                                            22 “Parties”), Defendant denies generally and specifically any and all such allegations
                                                            23 in said paragraph.
                                                            24                             FACTUAL ALLEGATIONS
                                                            25        7.     Answering paragraph number 7 of Plaintiff’s TAC (under the header
                                                            26 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            27 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            28 omissions or misconduct involving Plaintiff and Defendant denies all liability to

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                                                             1 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                             2 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                             3 answer the remaining allegations contained within such paragraph, as stated, and on
                                                             4 those grounds denies generally and specifically each and every one of the remaining
                                                             5 allegations contained therein.
                                                             6        8.     Answering paragraph number 8 of Plaintiff’s TAC (under the header
                                                             7 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                             8 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                             9 omissions or misconduct involving Plaintiff and Defendant denies all liability to
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                                                            10 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
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                                                            11 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            12 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            13 those grounds denies generally and specifically each and every one of the remaining
                                                            14 allegations contained therein.
                                                            15        9.     Answering paragraph number 9 of Plaintiff’s TAC (under the header
                                                            16 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            17 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            18 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            19 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            20 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            21 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            22 those grounds denies generally and specifically each and every one of the remaining
                                                            23 allegations contained therein.
                                                            24        10.    Answering paragraph number 10 of Plaintiff’s TAC (under the header
                                                            25 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            26 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            27 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            28 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant

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                                                             1 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                             2 answer the remaining allegations contained within such paragraph, as stated, and on
                                                             3 those grounds denies generally and specifically each and every one of the remaining
                                                             4 allegations contained therein.
                                                             5        11.    Answering paragraph number 11 of Plaintiff’s TAC (under the header
                                                             6 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                             7 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                             8 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                             9 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
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                                                            10 does not have sufficient knowledge, or information or belief, to enable Defendant to
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                                                            11 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            12 those grounds denies generally and specifically each and every one of the remaining
                                                            13 allegations contained therein.
                                                            14        12.    Answering paragraph number 12 of Plaintiff’s TAC (under the header
                                                            15 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            16 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            17 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            18 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            19 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            20 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            21 those grounds denies generally and specifically each and every one of the remaining
                                                            22 allegations contained therein.
                                                            23        13.    Answering paragraph number 13 of Plaintiff’s TAC (under the header
                                                            24 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            25 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            26 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            27 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            28 does not have sufficient knowledge, or information or belief, to enable Defendant to

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                                                             1 answer the remaining allegations contained within such paragraph, as stated, and on
                                                             2 those grounds denies generally and specifically each and every one of the remaining
                                                             3 allegations contained therein.
                                                             4        14.    Answering paragraph number 14 of Plaintiff’s TAC (under the header
                                                             5 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                             6 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                             7 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                             8 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                             9 does not have sufficient knowledge, or information or belief, to enable Defendant to
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                                                            10 answer the remaining allegations contained within such paragraph, as stated, and on
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                                                            11 those grounds denies generally and specifically each and every one of the remaining
                                                            12 allegations contained therein.
                                                            13        15.    Answering paragraph number 15 of Plaintiff’s TAC (under the header
                                                            14 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            15 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            16 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            17 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            18 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            19 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            20 those grounds denies generally and specifically each and every one of the remaining
                                                            21 allegations contained therein.
                                                            22        16.    Answering paragraph number 16 of Plaintiff’s TAC (under the header
                                                            23 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            24 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            25 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            26 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            27 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            28 answer the remaining allegations contained within such paragraph, as stated, and on

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                                                             1 those grounds denies generally and specifically each and every one of the remaining
                                                             2 allegations contained therein.
                                                             3        17.    Answering paragraph number 17 of Plaintiff’s TAC (under the header
                                                             4 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                             5 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                             6 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                             7 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                             8 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                             9 answer the remaining allegations contained within such paragraph, as stated, and on
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                                                            10 those grounds denies generally and specifically each and every one of the remaining
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                                                            11 allegations contained therein.
                                                            12        18.    Answering paragraph number 18 of Plaintiff’s TAC (under the header
                                                            13 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            14 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            15 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            16 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            17 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            18 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            19 those grounds denies generally and specifically each and every one of the remaining
                                                            20 allegations contained therein.
                                                            21        19.    Answering paragraph number 19 of Plaintiff’s TAC (under the header
                                                            22 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            23 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            24 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            25 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            26 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            27 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            28 those grounds denies generally and specifically each and every one of the remaining

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                                                             1 allegations contained therein.
                                                             2        20.    Answering paragraph number 20 of Plaintiff’s TAC (under the header
                                                             3 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                             4 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                             5 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                             6 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                             7 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                             8 answer the remaining allegations contained within such paragraph, as stated, and on
                                                             9 those grounds denies generally and specifically each and every one of the remaining
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                                                            10 allegations contained therein.
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                                                            11        21.    Answering paragraph number 21 of Plaintiff’s TAC (under the header
                                                            12 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            13 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            14 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            15 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            16 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            17 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            18 those grounds denies generally and specifically each and every one of the remaining
                                                            19 allegations contained therein.
                                                            20        22.    Answering paragraph number 22 of Plaintiff’s TAC (under the header
                                                            21 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            22 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            23 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            24 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            25 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            26 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            27 those grounds denies generally and specifically each and every one of the remaining
                                                            28 allegations contained therein.

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                                                             1        23.    Answering paragraph number 23 of Plaintiff’s TAC (under the header
                                                             2 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                             3 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                             4 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                             5 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                             6 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                             7 answer the remaining allegations contained within such paragraph, as stated, and on
                                                             8 those grounds denies generally and specifically each and every one of the remaining
                                                             9 allegations contained therein.
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                                                            10        24.    Answering paragraph number 24 of Plaintiff’s TAC (under the header
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                                                            11 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            12 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            13 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            14 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            15 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            16 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            17 those grounds denies generally and specifically each and every one of the remaining
                                                            18 allegations contained therein.
                                                            19        25.    Answering paragraph number 25 of Plaintiff’s TAC (under the header
                                                            20 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            21 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            22 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            23 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            24 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            25 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            26 those grounds denies generally and specifically each and every one of the remaining
                                                            27 allegations contained therein.
                                                            28        26.    Answering paragraph number 26 of Plaintiff’s TAC (under the header

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                                                             1 “Factual Allegations”), Defendant does not have sufficient knowledge, or
                                                             2 information or belief, to enable Defendant to answer the allegations contained
                                                             3 within such paragraph, as stated, and on those grounds denies generally and
                                                             4 specifically each and every one of the allegations contained therein.
                                                             5        27.    Answering paragraph number 27 of Plaintiff’s TAC (under the header
                                                             6 “Factual Allegations”), Defendant does not have sufficient knowledge, or
                                                             7 information or belief, to enable Defendant to answer the allegations contained
                                                             8 within such paragraph, as stated, and on those grounds denies generally and
                                                             9 specifically each and every one of the allegations contained therein.
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                                                            10        28.    Answering paragraph number 28 of Plaintiff’s TAC (under the header
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                                                            11 “Factual Allegations”), Defendant does not have sufficient knowledge, or
                                                            12 information or belief, to enable Defendant to answer the allegations contained
                                                            13 within such paragraph, as stated, and on those grounds denies generally and
                                                            14 specifically each and every one of the allegations contained therein.
                                                            15        29.    Answering paragraph number 29 of Plaintiff’s TAC (under the header
                                                            16 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            17 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            18 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            19 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            20 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            21 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            22 those grounds denies generally and specifically each and every one of the remaining
                                                            23 allegations contained therein.
                                                            24        30.    Answering paragraph number 30 of Plaintiff’s TAC (under the header
                                                            25 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            26 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            27 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            28 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant

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                                                             1 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                             2 answer the remaining allegations contained within such paragraph, as stated, and on
                                                             3 those grounds denies generally and specifically each and every one of the remaining
                                                             4 allegations contained therein.
                                                             5        31.    Answering paragraph number 31 of Plaintiff’s TAC (under the header
                                                             6 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                             7 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                             8 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                             9 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
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                                                            10 does not have sufficient knowledge, or information or belief, to enable Defendant to
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                                                            11 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            12 those grounds denies generally and specifically each and every one of the remaining
                                                            13 allegations contained therein.
                                                            14        32.    Answering paragraph number 32 of Plaintiff’s TAC (under the header
                                                            15 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            16 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            17 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            18 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            19 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            20 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            21 those grounds denies generally and specifically each and every one of the remaining
                                                            22 allegations contained therein.
                                                            23        33.    Answering paragraph number 33 of Plaintiff’s TAC (under the header
                                                            24 “Factual Allegations”), Defendant does not have sufficient knowledge, or
                                                            25 information or belief, to enable Defendant to answer the allegations contained
                                                            26 within such paragraph, as stated, and on those grounds denies generally and
                                                            27 specifically each and every one of the allegations contained therein.
                                                            28        34.    Answering paragraph number 34 of Plaintiff’s TAC (under the header

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                                                             1 “Factual Allegations”), Defendant admits that Plaintiff participated in a “sexual
                                                             2 assault video interview” that was conducted by Defendant. As to the remaining
                                                             3 allegations in this paragraph, Defendant does not have sufficient knowledge, or
                                                             4 information or belief, to enable Defendant to answer the remaining allegations
                                                             5 contained within such paragraph, as stated, and on those grounds denies generally
                                                             6 and specifically each and every one of the remaining allegations contained therein.
                                                             7        35.    Answering paragraph number 35 of Plaintiff’s TAC (under the header
                                                             8 “Factual Allegations”), Defendant denies generally and specifically each and every
                                                             9 one of the allegations contained therein.
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                                                            10        36.    Answering paragraph number 36 of Plaintiff’s TAC (under the header
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                                                            11 “Factual Allegations”), Defendant denies generally and specifically each and every
                                                            12 one of the allegations contained therein.
                                                            13        37.    Answering paragraph number 37 of Plaintiff’s TAC (under the header
                                                            14 “Factual Allegations”), Defendant denies generally and specifically each and every
                                                            15 one of the allegations contained therein.
                                                            16        38.    Answering paragraph number 38 of Plaintiff’s TAC (under the header
                                                            17 “Factual Allegations”), Defendant denies generally and specifically each and every
                                                            18 one of the allegations contained therein.
                                                            19        39.    Answering paragraph number 39 of Plaintiff’s TAC (under the header
                                                            20 “Factual Allegations”), Defendant denies generally and specifically each and every
                                                            21 one of the allegations contained therein.
                                                            22        40.    Answering paragraph number 40 of Plaintiff’s TAC (under the header
                                                            23 “Factual Allegations”), Defendant admits that a “sexual assault video interview”
                                                            24 was conducted.
                                                            25        41.    Answering paragraph number 41 of Plaintiff’s TAC (under the header
                                                            26 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            27 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            28 omissions or misconduct involving Plaintiff and Defendant denies all liability to

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                                                             1 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                             2 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                             3 answer the remaining allegations contained within such paragraph, as stated, and on
                                                             4 those grounds denies generally and specifically each and every one of the remaining
                                                             5 allegations contained therein.
                                                             6        42.    Answering paragraph number 42 of Plaintiff’s TAC (under the header
                                                             7 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                             8 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                             9 omissions or misconduct involving Plaintiff and Defendant denies all liability to
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                                                            10 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
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                                                            11 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            12 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            13 those grounds denies generally and specifically each and every one of the remaining
                                                            14 allegations contained therein.
                                                            15        43.    Answering paragraph number 43 of Plaintiff’s TAC (under the header
                                                            16 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            17 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            18 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            19 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            20 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            21 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            22 those grounds denies generally and specifically each and every one of the remaining
                                                            23 allegations contained therein.
                                                            24        44.    Answering paragraph number 44 of Plaintiff’s TAC (under the header
                                                            25 “Factual Allegations”), Defendant denies generally and specifically each and every
                                                            26 one of the allegations contained therein.
                                                            27        45.    Answering paragraph number 45 of Plaintiff’s TAC (under the header
                                                            28 “Factual Allegations”), Defendant denies generally and specifically each and every

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                                                             1 one of the allegations contained therein.
                                                             2        46.    Answering paragraph number 46 of Plaintiff’s TAC (under the header
                                                             3 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                             4 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                             5 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                             6 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                             7 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                             8 answer the remaining allegations contained within such paragraph, as stated, and on
                                                             9 those grounds denies generally and specifically each and every one of the remaining
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                                                            10 allegations contained therein.
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                                                            11        47.    Answering paragraph number 47 of Plaintiff’s TAC (under the header
                                                            12 “Factual Allegations”), Defendant denies generally and specifically each and every
                                                            13 one of the allegations contained therein.
                                                            14        48.    Answering paragraph number 48 of Plaintiff’s TAC (under the header
                                                            15 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            16 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            17 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            18 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            19 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            20 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            21 those grounds denies generally and specifically each and every one of the remaining
                                                            22 allegations contained therein.
                                                            23        49.    Answering paragraph number 49 of Plaintiff’s TAC (under the header
                                                            24 “Factual Allegations”), Defendant denies generally and specifically each and every
                                                            25 one of the allegations contained therein.
                                                            26        50.    Answering paragraph number 50 of Plaintiff’s TAC (under the header
                                                            27 “Factual Allegations”), Defendant denies generally and specifically each and every
                                                            28 one of the allegations contained therein.

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                                                             1        51.    Answering paragraph number 51 of Plaintiff’s TAC (under the header
                                                             2 “Factual Allegations”), Defendant denies generally and specifically each and every
                                                             3 one of the allegations contained therein.
                                                             4        52.    Answering paragraph number 52 of Plaintiff’s TAC (under the header
                                                             5 “Factual Allegations”), Defendant denies generally and specifically each and every
                                                             6 one of the allegations contained therein.
                                                             7        53.    Answering paragraph number 53 of Plaintiff’s TAC (under the header
                                                             8 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                             9 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
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                                                            10 omissions or misconduct involving Plaintiff and Defendant denies all liability to
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                                                            11 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            12 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            13 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            14 those grounds denies generally and specifically each and every one of the remaining
                                                            15 allegations contained therein.
                                                            16        54.    Answering paragraph number 54 of Plaintiff’s TAC (under the header
                                                            17 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            18 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            19 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            20 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            21 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            22 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            23 those grounds denies generally and specifically each and every one of the remaining
                                                            24 allegations contained therein.
                                                            25        55.    Answering paragraph number 55 of Plaintiff’s TAC (under the header
                                                            26 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            27 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            28 omissions or misconduct involving Plaintiff and Defendant denies all liability to

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                                                             1 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                             2 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                             3 answer the remaining allegations contained within such paragraph, as stated, and on
                                                             4 those grounds denies generally and specifically each and every one of the remaining
                                                             5 allegations contained therein.
                                                             6        56.    Answering paragraph number 56 of Plaintiff’s TAC (under the header
                                                             7 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                             8 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                             9 omissions or misconduct involving Plaintiff and Defendant denies all liability to
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                                                            10 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
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                                                            11 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            12 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            13 those grounds denies generally and specifically each and every one of the remaining
                                                            14 allegations contained therein.
                                                            15        57.    Answering paragraph number 57 of Plaintiff’s TAC (under the header
                                                            16 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            17 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            18 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            19 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            20 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            21 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            22 those grounds denies generally and specifically each and every one of the remaining
                                                            23 allegations contained therein.
                                                            24        58.    Answering paragraph number 58 of Plaintiff’s TAC (under the header
                                                            25 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            26 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            27 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            28 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant

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                                                             1 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                             2 answer the remaining allegations contained within such paragraph, as stated, and on
                                                             3 those grounds denies generally and specifically each and every one of the remaining
                                                             4 allegations contained therein.
                                                             5        59.    Answering paragraph number 59 of Plaintiff’s TAC (under the header
                                                             6 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                             7 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                             8 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                             9 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
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                                                            10 does not have sufficient knowledge, or information or belief, to enable Defendant to
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                                                            11 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            12 those grounds denies generally and specifically each and every one of the remaining
                                                            13 allegations contained therein.
                                                            14        60.    Answering paragraph number 60 of Plaintiff’s TAC (under the header
                                                            15 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            16 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            17 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            18 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            19 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            20 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            21 those grounds denies generally and specifically each and every one of the remaining
                                                            22 allegations contained therein.
                                                            23        61.    Answering paragraph number 61 of Plaintiff’s TAC (under the header
                                                            24 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            25 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            26 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            27 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            28 does not have sufficient knowledge, or information or belief, to enable Defendant to

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                                                             1 answer the remaining allegations contained within such paragraph, as stated, and on
                                                             2 those grounds denies generally and specifically each and every one of the remaining
                                                             3 allegations contained therein.
                                                             4        62.    Answering paragraph number 62 of Plaintiff’s TAC (under the header
                                                             5 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                             6 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                             7 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                             8 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                             9 does not have sufficient knowledge, or information or belief, to enable Defendant to
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                                                            10 answer the remaining allegations contained within such paragraph, as stated, and on
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                                                            11 those grounds denies generally and specifically each and every one of the remaining
                                                            12 allegations contained therein.
                                                            13        63.    Answering paragraph number 63 of Plaintiff’s TAC (under the header
                                                            14 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            15 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            16 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            17 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            18 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            19 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            20 those grounds denies generally and specifically each and every one of the remaining
                                                            21 allegations contained therein.
                                                            22        64.    Answering paragraph number 64 of Plaintiff’s TAC (under the header
                                                            23 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            24 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            25 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            26 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            27 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            28 answer the remaining allegations contained within such paragraph, as stated, and on

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                                                             1 those grounds denies generally and specifically each and every one of the remaining
                                                             2 allegations contained therein.
                                                             3        65.    Answering paragraph number 65 of Plaintiff’s TAC (under the header
                                                             4 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                             5 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                             6 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                             7 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                             8 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                             9 answer the remaining allegations contained within such paragraph, as stated, and on
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                                                            10 those grounds denies generally and specifically each and every one of the remaining
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                                                            11 allegations contained therein.
                                                            12        66.    Answering paragraph number 66 of Plaintiff’s TAC (under the header
                                                            13 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            14 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            15 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            16 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            17 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            18 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            19 those grounds denies generally and specifically each and every one of the remaining
                                                            20 allegations contained therein.
                                                            21        67.    Answering paragraph number 67 of Plaintiff’s TAC (under the header
                                                            22 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            23 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            24 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            25 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            26 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            27 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            28 those grounds denies generally and specifically each and every one of the remaining

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                                                             1 allegations contained therein.
                                                             2        68.    Answering paragraph number 68 of Plaintiff’s TAC (under the header
                                                             3 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                             4 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                             5 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                             6 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                             7 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                             8 answer the remaining allegations contained within such paragraph, as stated, and on
                                                             9 those grounds denies generally and specifically each and every one of the remaining
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                                                            10 allegations contained therein.
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                                                            11        69.    Answering paragraph number 69 of Plaintiff’s TAC (under the header
                                                            12 “Factual Allegations”), as to any allegations regarding the underlying incident at
                                                            13 issue in Plaintiff's claims, Defendant denies that she engaged in any unlawful acts or
                                                            14 omissions or misconduct involving Plaintiff and Defendant denies all liability to
                                                            15 Plaintiff. As to the remaining allegations in this paragraph, at present, Defendant
                                                            16 does not have sufficient knowledge, or information or belief, to enable Defendant to
                                                            17 answer the remaining allegations contained within such paragraph, as stated, and on
                                                            18 those grounds denies generally and specifically each and every one of the remaining
                                                            19 allegations contained therein.
                                                            20                                  CAUSE OF ACTION
                                                            21                            FIRST CLAIM FOR RELIEF
                                                            22   Sexual Battery in Violation of Cal. Code § 1708.5 Against Defendant Cerritos
                                                            23        70.    Answering paragraph number 70 of Plaintiff’s TAC (under the header
                                                            24 “First Claim for Relief – Sexual Battery in Violation of Cal. Code § 1708.5”), this
                                                            25 paragraph realleges and incorporates Plaintiff's allegations in the preceding
                                                            26 paragraphs. Accordingly, in response to this paragraph, Defendant incorporates by
                                                            27 reference here Defendant's answers to each of the corresponding and
                                                            28 aforementioned allegations and/or paragraphs of Plaintiff's TAC.

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                                                             1        71.    Answering paragraph number 71 of Plaintiff’s TAC (under the header
                                                             2 “First Claim for Relief – Sexual Battery in Violation of Cal. Code § 1708.5”), this
                                                             3 paragraph sets forth legal conclusions and questions of law to which no response is
                                                             4 required.
                                                             5        72.    Answering paragraph number 72 of Plaintiff’s TAC (under the header
                                                             6 “First Claim for Relief – Sexual Battery in Violation of Cal. Code § 1708.5”), this
                                                             7 paragraph sets forth legal conclusions and questions of law to which no response is
                                                             8 required.
                                                             9        73.    Answering paragraph number 73 of Plaintiff’s TAC (under the header
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                                                            10 “First Claim for Relief – Sexual Battery in Violation of Cal. Code § 1708.5”), the
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                                                            11 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            12 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            13 Defendant to answer the allegations contained within such paragraph, and on those
                                                            14 grounds denies generally and specifically each and every one of the allegations
                                                            15 contained therein.
                                                            16        74.    Answering paragraph number 74 of Plaintiff’s TAC (under the header
                                                            17 “First Claim for Relief – Sexual Battery in Violation of Cal. Code § 1708.5”), the
                                                            18 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            19 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            20 Defendant to answer the allegations contained within such paragraph, and on those
                                                            21 grounds denies generally and specifically each and every one of the allegations
                                                            22 contained therein.
                                                            23        75.    Answering paragraph number 75 of Plaintiff’s TAC (under the header
                                                            24 “First Claim for Relief – Sexual Battery in Violation of Cal. Code § 1708.5”), the
                                                            25 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            26 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            27 Defendant to answer the allegations contained within such paragraph, and on those
                                                            28 grounds denies generally and specifically each and every one of the allegations

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                                                             1 contained therein.
                                                             2        76.    Answering paragraph number 76 of Plaintiff’s TAC (under the header
                                                             3 “First Claim for Relief – Sexual Battery in Violation of Cal. Code § 1708.5”), the
                                                             4 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                             5 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                             6 Defendant to answer the allegations contained within such paragraph, and on those
                                                             7 grounds denies generally and specifically each and every one of the allegations
                                                             8 contained therein.
                                                             9        77.    Answering paragraph number 77 of Plaintiff’s TAC (under the header
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                                                            10 “First Claim for Relief – Sexual Battery in Violation of Cal. Code § 1708.5”), the
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                                                            11 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            12 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            13 Defendant to answer the allegations contained within such paragraph, and on those
                                                            14 grounds denies generally and specifically each and every one of the allegations
                                                            15 contained therein.
                                                            16                          SECOND CLAIM FOR RELIEF
                                                            17          LIABILITY OF ALL DEFENDANTS UNDER 42 U.S.C. § 1983
                                                            18       (RETALIATION IN VIOLATION OF THE FIRST AMENDMENT)
                                                            19        78.    Answering paragraph number 78 of Plaintiff’s TAC (under the header
                                                            20 “Second Claim for Relief – Retaliation in Violation of the First Amendment”), this
                                                            21 paragraph realleges and incorporates Plaintiff's allegations in the preceding
                                                            22 paragraphs. Accordingly, in response to this paragraph, Defendant incorporates by
                                                            23 reference here Defendant's answers to each of the corresponding and
                                                            24 aforementioned allegations and/or paragraphs of Plaintiff's TAC.
                                                            25        79.    Answering paragraph number 79 of Plaintiff’s TAC (under the header
                                                            26 “Second Claim for Relief – Retaliation in Violation of the First Amendment”), as it
                                                            27 pertains to any allegations relating to the answering Defendant, Defendant admits
                                                            28 that she was acting under color of state law and in the course and scope of her

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                                                             1 employment with LASD at all relevant times. As to allegations in this paragraph
                                                             2 pertaining to co-defendant Deputy Jesse Cerritos, Defendant does not have
                                                             3 sufficient knowledge, or information or belief, to enable Defendant to answer the
                                                             4 remaining allegations contained within such paragraph, and on those grounds denies
                                                             5 generally and specifically each and every one of the remaining allegations contained
                                                             6 therein.
                                                             7        80.   Answering paragraph number 80 of Plaintiff’s TAC (under the header
                                                             8 “Second Claim for Relief – Retaliation in Violation of the First Amendment”), as it
                                                             9 pertains to any allegations relating to the answering Defendant, Defendant denies
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                                                            10 generally and specifically any and all such allegations in said paragraph. As to the
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                                                            11 remaining allegations in this paragraph, Defendant does not have sufficient
                                                            12 knowledge, or information or belief, to enable Defendant to answer the remaining
                                                            13 allegations contained within such paragraph, as stated, and on those grounds denies
                                                            14 generally and specifically each and every one of the remaining allegations contained
                                                            15 therein.
                                                            16        81.   Answering paragraph number 81 of Plaintiff’s TAC (under the header
                                                            17 “Second Claim for Relief – Retaliation in Violation of the First Amendment”),
                                                            18 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            19 Defendant to answer the allegations contained within such paragraph, as stated, and
                                                            20 on those grounds denies generally and specifically each and every one of the
                                                            21 allegations contained therein.
                                                            22        82.   Answering paragraph number 82 of Plaintiff’s TAC (under the header
                                                            23 “Second Claim for Relief – Retaliation in Violation of the First Amendment”), as it
                                                            24 pertains to any allegations relating to the answering Defendant, Defendant denies
                                                            25 generally and specifically any and all such allegations in said paragraph. As to the
                                                            26 remaining allegations in this paragraph, Defendant does not have sufficient
                                                            27 knowledge, or information or belief, to enable Defendant to answer the remaining
                                                            28 allegations contained within such paragraph, as stated, and on those grounds denies

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                                                             1 generally and specifically each and every one of the remaining allegations contained
                                                             2 therein.
                                                             3        83.   Answering paragraph number 83 of Plaintiff’s TAC (under the header
                                                             4 “Second Claim for Relief – Retaliation in Violation of the First Amendment”), as it
                                                             5 pertains to any allegations relating to the answering Defendant, Defendant denies
                                                             6 generally and specifically any and all such allegations in said paragraph. As to the
                                                             7 remaining allegations in this paragraph, Defendant does not have sufficient
                                                             8 knowledge, or information or belief, to enable Defendant to answer the remaining
                                                             9 allegations contained within such paragraph, as stated, and on those grounds denies
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                                                            10 generally and specifically each and every one of the remaining allegations contained
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                                                            11 therein.
                                                            12        84.   Answering paragraph number 84 of Plaintiff’s TAC (under the header
                                                            13 “Second Claim for Relief – Retaliation in Violation of the First Amendment”), as it
                                                            14 pertains to any allegations relating to the answering Defendant, Defendant denies
                                                            15 generally and specifically any and all such allegations in said paragraph. As to the
                                                            16 remaining allegations in this paragraph, Defendant does not have sufficient
                                                            17 knowledge, or information or belief, to enable Defendant to answer the remaining
                                                            18 allegations contained within such paragraph, as stated, and on those grounds denies
                                                            19 generally and specifically each and every one of the remaining allegations contained
                                                            20 therein.
                                                            21        85.   Answering paragraph number 85 of Plaintiff’s TAC (under the header
                                                            22 “Second Claim for Relief – Retaliation in Violation of the First Amendment”), as it
                                                            23 pertains to any allegations relating to the answering Defendant, Defendant denies
                                                            24 generally and specifically any and all such allegations in said paragraph. As to the
                                                            25 remaining allegations in this paragraph, Defendant does not have sufficient
                                                            26 knowledge, or information or belief, to enable Defendant to answer the remaining
                                                            27 allegations contained within such paragraph, as stated, and on those grounds denies
                                                            28 generally and specifically each and every one of the remaining allegations contained

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                                                             1 therein.
                                                             2        86.   Answering paragraph number 86 of Plaintiff’s TAC (under the header
                                                             3 “Second Claim for Relief – Retaliation in Violation of the First Amendment”), as it
                                                             4 pertains to any allegations relating to the answering Defendant, Defendant denies
                                                             5 generally and specifically any and all such allegations in said paragraph. As to the
                                                             6 remaining allegations in this paragraph, Defendant does not have sufficient
                                                             7 knowledge, or information or belief, to enable Defendant to answer the remaining
                                                             8 allegations contained within such paragraph, as stated, and on those grounds denies
                                                             9 generally and specifically each and every one of the remaining allegations contained
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                                                            10 therein.
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                                                            11        87.   Answering paragraph number 87 of Plaintiff’s TAC (under the header
                                                            12 “Second Claim for Relief – Retaliation in Violation of the First Amendment”), as it
                                                            13 pertains to any allegations relating to the answering Defendant, Defendant denies
                                                            14 generally and specifically any and all such allegations in said paragraph. As to the
                                                            15 remaining allegations in this paragraph, Defendant does not have sufficient
                                                            16 knowledge, or information or belief, to enable Defendant to answer the remaining
                                                            17 allegations contained within such paragraph, as stated, and on those grounds denies
                                                            18 generally and specifically each and every one of the remaining allegations contained
                                                            19 therein.
                                                            20        88.   Answering paragraph number 88 of Plaintiff’s TAC (under the header
                                                            21 “Second Claim for Relief – Retaliation in Violation of the First Amendment”), as it
                                                            22 pertains to any allegations relating to the answering Defendant, Defendant denies
                                                            23 generally and specifically any and all such allegations in said paragraph. As to the
                                                            24 remaining allegations in this paragraph, Defendant does not have sufficient
                                                            25 knowledge, or information or belief, to enable Defendant to answer the remaining
                                                            26 allegations contained within such paragraph, as stated, and on those grounds denies
                                                            27 generally and specifically each and every one of the remaining allegations contained
                                                            28 therein.

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                                                             1        89.   Answering paragraph number 89 of Plaintiff’s TAC (under the header
                                                             2 “Second Claim for Relief – Retaliation in Violation of the First Amendment”), as it
                                                             3 pertains to any allegations relating to the answering Defendant, Defendant denies
                                                             4 generally and specifically any and all such allegations in said paragraph. As to the
                                                             5 remaining allegations in this paragraph, Defendant does not have sufficient
                                                             6 knowledge, or information or belief, to enable Defendant to answer the remaining
                                                             7 allegations contained within such paragraph, as stated, and on those grounds denies
                                                             8 generally and specifically each and every one of the remaining allegations contained
                                                             9 therein.
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                                                            10        90.   Answering paragraph number 90 of Plaintiff’s TAC (under the header
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                                                            11 “Second Claim for Relief – Retaliation in Violation of the First Amendment”),
                                                            12 Defendant acknowledges that Plaintiff seeks punitive damages requested in this
                                                            13 paragraph, but denies each and every allegation in such paragraph to the extent
                                                            14 Plaintiff contends such damages are recoverable from Defendant.
                                                            15        91.   Answering paragraph number 91 of Plaintiff’s TAC (under the header
                                                            16 “Second Claim for Relief – Retaliation in Violation of the First Amendment”),
                                                            17 Defendant acknowledges that Plaintiff seeks attorney’s fees and costs and expenses
                                                            18 requested in this paragraph, but denies each and every allegation in such paragraph
                                                            19 to the extent Plaintiff contends such fees, costs and expenses are recoverable from
                                                            20 the Defendant.
                                                            21                           THIRD CLAIM FOR RELIEF
                                                            22       LIABILITY OF DEFENDANT CERRITOS UNDER 42 U.S.C. § 1983
                                                            23     (FALSE ARREST IN VIOLATION OF THE FOURTH AMENDMENT)
                                                            24        92.   Answering paragraph number 92 of Plaintiff’s TAC (under the header
                                                            25 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), this
                                                            26 paragraph realleges and incorporates Plaintiff's allegations in the preceding
                                                            27 paragraphs. Accordingly, in response to this paragraph, Defendant incorporates by
                                                            28 reference here Defendant's answers to each of the corresponding and

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                                                             1 aforementioned allegations and/or paragraphs of Plaintiff's TAC.
                                                             2        93.    Answering paragraph number 93 of Plaintiff’s TAC (under the header
                                                             3 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                             4 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                             5 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                             6 Defendant to answer the allegations contained within such paragraph, and on those
                                                             7 grounds denies generally and specifically each and every one of the allegations
                                                             8 contained therein.
                                                             9        94.    Answering paragraph number 94 of Plaintiff’s TAC (under the header
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                                                            10 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
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                                                            11 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            12 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            13 Defendant to answer the allegations contained within such paragraph, and on those
                                                            14 grounds denies generally and specifically each and every one of the allegations
                                                            15 contained therein.
                                                            16        95.    Answering paragraph number 95 of Plaintiff’s TAC (under the header
                                                            17 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                            18 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            19 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            20 Defendant to answer the allegations contained within such paragraph, and on those
                                                            21 grounds denies generally and specifically each and every one of the allegations
                                                            22 contained therein.
                                                            23        96.    Answering paragraph number 96 of Plaintiff’s TAC (under the header
                                                            24 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                            25 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            26 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            27 Defendant to answer the allegations contained within such paragraph, and on those
                                                            28 grounds denies generally and specifically each and every one of the allegations

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                                                             1 contained therein.
                                                             2        97.    Answering paragraph number 97 of Plaintiff’s TAC (under the header
                                                             3 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                             4 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                             5 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                             6 Defendant to answer the allegations contained within such paragraph, and on those
                                                             7 grounds denies generally and specifically each and every one of the allegations
                                                             8 contained therein.
                                                             9        98.    Answering paragraph number 98 of Plaintiff’s TAC (under the header
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                                                            10 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
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                                                            11 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            12 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            13 Defendant to answer the allegations contained within such paragraph, and on those
                                                            14 grounds denies generally and specifically each and every one of the allegations
                                                            15 contained therein.
                                                            16        99.    Answering paragraph number 99 of Plaintiff’s TAC (under the header
                                                            17 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                            18 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            19 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            20 Defendant to answer the allegations contained within such paragraph, and on those
                                                            21 grounds denies generally and specifically each and every one of the allegations
                                                            22 contained therein.
                                                            23        100. Answering paragraph number 100 of Plaintiff’s TAC (under the header
                                                            24 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                            25 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            26 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            27 Defendant to answer the allegations contained within such paragraph, and on those
                                                            28 grounds denies generally and specifically each and every one of the allegations

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                                                             1 contained therein.
                                                             2        101. Answering paragraph number 101 of Plaintiff’s TAC (under the header
                                                             3 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                             4 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                             5 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                             6 Defendant to answer the allegations contained within such paragraph, and on those
                                                             7 grounds denies generally and specifically each and every one of the allegations
                                                             8 contained therein.
                                                             9        102. Answering paragraph number 102 of Plaintiff’s TAC (under the header
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                                                            10 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
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                                                            11 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            12 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            13 Defendant to answer the allegations contained within such paragraph, and on those
                                                            14 grounds denies generally and specifically each and every one of the allegations
                                                            15 contained therein.
                                                            16        103. Answering paragraph number 103 of Plaintiff’s TAC (under the header
                                                            17 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                            18 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            19 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            20 Defendant to answer the allegations contained within such paragraph, and on those
                                                            21 grounds denies generally and specifically each and every one of the allegations
                                                            22 contained therein.
                                                            23        104. Answering paragraph number 104 of Plaintiff’s TAC (under the header
                                                            24 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                            25 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            26 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            27 Defendant to answer the allegations contained within such paragraph, and on those
                                                            28 grounds denies generally and specifically each and every one of the allegations

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                                                             1 contained therein.
                                                             2        105. Answering paragraph number 105 of Plaintiff’s TAC (under the header
                                                             3 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                             4 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                             5 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                             6 Defendant to answer the allegations contained within such paragraph, and on those
                                                             7 grounds denies generally and specifically each and every one of the allegations
                                                             8 contained therein.
                                                             9        106. Answering paragraph number 106 of Plaintiff’s TAC (under the header
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                                                            10 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
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                                                            11 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            12 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            13 Defendant to answer the allegations contained within such paragraph, and on those
                                                            14 grounds denies generally and specifically each and every one of the allegations
                                                            15 contained therein.
                                                            16        107. Answering paragraph number 107 of Plaintiff’s TAC (under the header
                                                            17 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                            18 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            19 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            20 Defendant to answer the allegations contained within such paragraph, and on those
                                                            21 grounds denies generally and specifically each and every one of the allegations
                                                            22 contained therein.
                                                            23        108. Answering paragraph number 108 of Plaintiff’s TAC (under the header
                                                            24 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                            25 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            26 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            27 Defendant to answer the allegations contained within such paragraph, and on those
                                                            28 grounds denies generally and specifically each and every one of the allegations

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                                                             1 contained therein.
                                                             2        109. Answering paragraph number 109 of Plaintiff’s TAC (under the header
                                                             3 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                             4 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                             5 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                             6 Defendant to answer the allegations contained within such paragraph, and on those
                                                             7 grounds denies generally and specifically each and every one of the allegations
                                                             8 contained therein.
                                                             9        110. Answering paragraph number 110 of Plaintiff’s TAC (under the header
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                                                            10 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
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                                                            11 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            12 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            13 Defendant to answer the allegations contained within such paragraph, and on those
                                                            14 grounds denies generally and specifically each and every one of the allegations
                                                            15 contained therein.
                                                            16        111. Answering paragraph number 111 of Plaintiff’s TAC (under the header
                                                            17 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                            18 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            19 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            20 Defendant to answer the allegations contained within such paragraph, and on those
                                                            21 grounds denies generally and specifically each and every one of the allegations
                                                            22 contained therein.
                                                            23        112. Answering paragraph number 112 of Plaintiff’s TAC (under the header
                                                            24 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                            25 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                            26 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            27 Defendant to answer the allegations contained within such paragraph, and on those
                                                            28 grounds denies generally and specifically each and every one of the allegations

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                                                             1 contained therein.
                                                             2        113. Answering paragraph number 113 of Plaintiff’s TAC (under the header
                                                             3 “Third Claim for Relief – False Arrest in Violation of the Fourth Amendment”), the
                                                             4 allegations in this paragraph pertain to co-defendant Deputy Jesse Cerritos. As such,
                                                             5 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                             6 Defendant to answer the allegations contained within such paragraph, and on those
                                                             7 grounds denies generally and specifically each and every one of the allegations
                                                             8 contained therein.
                                                             9                          FOURTH CLAIM FOR RELIEF
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                                                            10          LIABILITY OF ALL DEFENDANTS UNDER 42 U.S.C. § 1983
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                                                            11       (CRUEL AND UNUSUAL PUNISHMENT IN VIOLATION OF THE
                                                            12         EIGHTH AMENDMENT AND FOURTEENTH AMENDMENT)
                                                            13        114. Answering paragraph number 114 of Plaintiff’s TAC (under the header
                                                            14 “Fourth Claim for Relief – Cruel and Unusual Punishment in Violation of the Eighth
                                                            15 and Fourteenth Amendment”), this paragraph realleges and incorporates Plaintiff's
                                                            16 allegations in the preceding paragraphs. Accordingly, in response to this paragraph,
                                                            17 Defendant incorporates by reference here Defendant's answers to each of the
                                                            18 corresponding and aforementioned allegations and/or paragraphs of Plaintiff's TAC.
                                                            19        115. Answering paragraph number 115 of Plaintiff’s TAC (under the header
                                                            20 “Fourth Claim for Relief – Cruel and Unusual Punishment in Violation of the Eighth
                                                            21 and Fourteenth Amendment”), as it pertains to any allegations relating to the
                                                            22 answering Defendant, Defendant admits that she was acting under color of state law
                                                            23 and in the course and scope of her employment with LASD at all relevant times. As
                                                            24 to allegations in this paragraph pertaining to co-defendant Deputy Jesse Cerritos,
                                                            25 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            26 Defendant to answer the remaining allegations contained within such paragraph, and
                                                            27 on those grounds denies generally and specifically each and every one of the
                                                            28 remaining allegations contained therein.

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                                                             1        116. Answering paragraph number 116 of Plaintiff’s TAC (under the header
                                                             2 “Fourth Claim for Relief – Cruel and Unusual Punishment in Violation of the Eighth
                                                             3 and Fourteenth Amendment”), as it pertains to any allegations relating to the
                                                             4 answering Defendant, Defendant denies generally and specifically any and all such
                                                             5 allegations in said paragraph. As to the remaining allegations in this paragraph,
                                                             6 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                             7 Defendant to answer the remaining allegations contained within such paragraph, as
                                                             8 stated, and on those grounds denies generally and specifically each and every one of
                                                             9 the remaining allegations contained therein.
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                                                            10        117. Answering paragraph number 117 of Plaintiff’s TAC (under the header
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                                                            11 “Fourth Claim for Relief – Cruel and Unusual Punishment in Violation of the Eighth
                                                            12 and Fourteenth Amendment”), as it pertains to any allegations relating to the
                                                            13 answering Defendant, Defendant denies generally and specifically any and all such
                                                            14 allegations in said paragraph. As to the remaining allegations in this paragraph,
                                                            15 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            16 Defendant to answer the remaining allegations contained within such paragraph, as
                                                            17 stated, and on those grounds denies generally and specifically each and every one of
                                                            18 the remaining allegations contained therein.
                                                            19        118. Answering paragraph number 118 of Plaintiff’s TAC (under the header
                                                            20 “Fourth Claim for Relief – Cruel and Unusual Punishment in Violation of the Eighth
                                                            21 and Fourteenth Amendment”), Defendant does not have sufficient knowledge, or
                                                            22 information or belief, to enable Defendant to answer the allegations contained
                                                            23 within such paragraph, as stated, and on those grounds denies generally and
                                                            24 specifically each and every one of the allegations contained therein.
                                                            25        119. Answering paragraph number 119 of Plaintiff’s TAC (under the header
                                                            26 “Fourth Claim for Relief – Cruel and Unusual Punishment in Violation of the Eighth
                                                            27 and Fourteenth Amendment”), as it pertains to any allegations relating to the
                                                            28 answering Defendant, Defendant denies generally and specifically any and all such

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                                                             1 allegations in said paragraph. As to the remaining allegations in this paragraph,
                                                             2 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                             3 Defendant to answer the remaining allegations contained within such paragraph, as
                                                             4 stated, and on those grounds denies generally and specifically each and every one of
                                                             5 the remaining allegations contained therein.
                                                             6        120. Answering paragraph number 120 of Plaintiff’s TAC (under the header
                                                             7 “Fourth Claim for Relief – Cruel and Unusual Punishment in Violation of the Eighth
                                                             8 and Fourteenth Amendment”), as it pertains to any allegations relating to the
                                                             9 answering Defendant, Defendant denies generally and specifically any and all such
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                                                            10 allegations in said paragraph. As to the remaining allegations in this paragraph,
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                                                            11 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            12 Defendant to answer the remaining allegations contained within such paragraph, as
                                                            13 stated, and on those grounds denies generally and specifically each and every one of
                                                            14 the remaining allegations contained therein.
                                                            15        121. Answering paragraph number 121 of Plaintiff’s TAC (under the header
                                                            16 “Fourth Claim for Relief – Cruel and Unusual Punishment in Violation of the Eighth
                                                            17 and Fourteenth Amendment”), as it pertains to any allegations relating to the
                                                            18 answering Defendant, Defendant denies generally and specifically any and all such
                                                            19 allegations in said paragraph. As to the remaining allegations in this paragraph,
                                                            20 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                            21 Defendant to answer the remaining allegations contained within such paragraph, as
                                                            22 stated, and on those grounds denies generally and specifically each and every one of
                                                            23 the remaining allegations contained therein.
                                                            24        122. Answering paragraph number 122 of Plaintiff’s TAC (under the header
                                                            25 “Fourth Claim for Relief – Cruel and Unusual Punishment in Violation of the Eighth
                                                            26 and Fourteenth Amendment”), as it pertains to any allegations relating to the
                                                            27 answering Defendant, Defendant denies generally and specifically any and all such
                                                            28 allegations in said paragraph. As to the remaining allegations in this paragraph,

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                                                             1 Defendant does not have sufficient knowledge, or information or belief, to enable
                                                             2 Defendant to answer the remaining allegations contained within such paragraph, as
                                                             3 stated, and on those grounds denies generally and specifically each and every one of
                                                             4 the remaining allegations contained therein.
                                                             5         123. Answering paragraph number 115 of Plaintiff’s TAC (under the header
                                                             6 “Fourth Claim for Relief – Cruel and Unusual Punishment in Violation of the Eighth
                                                             7 and Fourteenth Amendment”), Defendant acknowledges that Plaintiff seeks punitive
                                                             8 damages requested in this paragraph, but denies each and every allegation in such
                                                             9 paragraph to the extent Plaintiff contends such damages are recoverable from
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                                                            10 Defendant.
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                                                            11         124. Answering paragraph number 124 of Plaintiff’s TAC (under the header
                                                            12 “Fourth Claim for Relief – Cruel and Unusual Punishment in Violation of the Eighth
                                                            13 and Fourteenth Amendment”), Defendant acknowledges that Plaintiff seeks
                                                            14 attorney’s fees and costs and expenses requested in this paragraph, but denies each
                                                            15 and every allegation in such paragraph to the extent Plaintiff contends such fees,
                                                            16 costs and expenses are recoverable from the Defendant.
                                                            17                               PRAYER FOR RELIEF
                                                            18         In answering to Plaintiff’s prayer for damages, the answering Defendant
                                                            19 denies generally and specifically each and every allegation contained therein as it
                                                            20 refers to the answering Defendant, and further denies that Plaintiff is entitled to an
                                                            21 award of damages or any other relief as a result of any action or omission by the
                                                            22 answering Defendant.
                                                            23                             AFFIRMATIVE DEFENSES
                                                            24         Defendant pleads the following separate defenses. Defendant reserves the
                                                            25 right to assert additional affirmative defenses that discovery indicates are proper.
                                                            26 As separate and affirmative defenses, Defendant allege as follows:
                                                            27 / / /
                                                            28 / / /

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                                                             1                          FIRST AFFIRMATIVE DEFENSE
                                                             2        1.      Plaintiff's TAC fails to state a claim upon which relief can be granted.
                                                             3 Plaintiff's TAC also fails to state a claim against the answering Defendant in this
                                                             4 action.
                                                             5                         SECOND AFFIRMATIVE DEFENSE
                                                             6        2.      Plaintiff has failed to allege in the TAC sufficient facts to state a claim
                                                             7 for compensatory or punitive damages for any action taken by the answering
                                                             8 Defendant in her individual or official capacity.
                                                             9                          THIRD AFFIRMATIVE DEFENSE
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                                                            10        3.      The answering Defendant denies that Plaintiff has been deprived of any
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                                                            11 rights, privileges, or immunities guaranteed by the Constitution or laws of the
                                                            12 United States or by the Constitution or laws of the State of California, and therefore
                                                            13 Defendant is immune from liability.
                                                            14                         FOURTH AFFIRMATIVE DEFENSE
                                                            15        4.      Plaintiff’s action is time-barred by the operative statute(s) of
                                                            16 limitations.
                                                            17                          FIFTH AFFIRMATIVE DEFENSE
                                                            18        5.      Plaintiff’s action is barred by laches and delay on the Plaintiff’s part to
                                                            19 the prejudice of the answering Defendant.
                                                            20                          SIXTH AFFIRMATIVE DEFENSE
                                                            21        6.      The Complaint is barred based on Plaintiff’s failure to exhaust
                                                            22 administrative remedies prior to filing this lawsuit, including but not limited to all
                                                            23 remedies pursuant to 42 U.S.C. § 1997e.
                                                            24                        SEVENTH AFFIRMATIVE DEFENSE
                                                            25        7.      Plaintiff’s recovery is barred because the factual allegations of the TAC
                                                            26 do not correspond with the facts set forth in Plaintiff’s filed grievances. The TAC
                                                            27 thereby alleges a factual basis for recovery, which is not fairly reflected in the
                                                            28 written grievances.

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                                                             1                        EIGHTH AFFIRMATIVE DEFENSE
                                                             2         8.    Plaintiff’s claims are barred or limited by Plaintiff’s own conduct, acts,
                                                             3 or omissions, and to the extent Plaintiff suffered any injury or damages, it was the
                                                             4 result of Plaintiff’s own actions or omissions.
                                                             5                         NINTH AFFIRMATIVE DEFENSE
                                                             6         9.    Plaintiff’s recovery is barred because any injury or damage suffered by
                                                             7 Plaintiff was caused solely by reason of Plaintiff’s wrongful acts, conduct, and/or
                                                             8 requests. The conduct set forth in the TAC, if and to the extent it occurred, was
                                                             9 privileged and justified and done with a good faith belief that it was correct and
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                                                            10 therefore no action may be taken against the answering Defendant on account of
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                                                            11 such conduct.
                                                            12                         TENTH AFFIRMATIVE DEFENSE
                                                            13         10.   Defendant alleges that Plaintiff’s action is barred by reason of conduct,
                                                            14 as Plaintiff’s actions and inactions amount to and constitute a waiver of any right
                                                            15 Plaintiff may or might have had in reference to the matters and things alleged in the
                                                            16 TAC, or that such conduct otherwise estops Plaintiff from recovery in this action,
                                                            17 including but not limited to the doctrine of unclean hands.
                                                            18                      ELEVENTH AFFIRMATIVE DEFENSE
                                                            19         11.   Defendant alleges that Plaintiff’s TAC, and each claim contained
                                                            20 therein, is barred pursuant to the equitable doctrine of waiver.
                                                            21                       TWELFTH AFFIRMATIVE DEFENSE
                                                            22         12.   Plaintiff’s claims are barred or limited to the extent Plaintiff failed to
                                                            23 mitigate Plaintiff’s injuries or damages, if there were any. Plaintiff has failed to
                                                            24 mitigate the damages, if any, which Plaintiff has sustained, and to exercise
                                                            25 reasonable care to avoid the consequences of harms, if any, in that, among other
                                                            26 things, Plaintiff has failed to use reasonable diligence in caring for any injuries,
                                                            27 failed to use reasonable means to prevent aggravation of any injuries and failed to
                                                            28 take reasonable precautions to reduce any injuries and damages.

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                                                             1                       THIRTEENTH AFFIRMATIVE DEFENSE
                                                             2         13.      Defendant is informed and believes and thereon alleges that if Plaintiff
                                                             3 sustained any injury or damages, such injury or damages were solely caused or
                                                             4 contributed to by the wrongful conduct of other defendants and/or entities or persons
                                                             5 other than the answering Defendant. To the extent that any Plaintiff’s damages were
                                                             6 so caused, any recovery by Plaintiff as against the answering Defendant should be
                                                             7 subject to proportionately comparative equitable indemnity/contribution from such
                                                             8 third parties.
                                                             9                       FOURTEENTH AFFIRMATIVE DEFENSE
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                                                            10         14.      Defendant alleges that Plaintiff’s TAC, and each claim contained
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                                                            11 therein, is barred on the ground that the answering Defendant was not the cause in
                                                            12 fact of any alleged damage, injury, or loss to Plaintiff, if any.
                                                            13                        FIFTEENTH AFFIRMATIVE DEFENSE
                                                            14         15.      Defendant alleges that Plaintiff’s TAC, and each claim contained
                                                            15 therein, is barred on the ground that the answering Defendant was not a substantial
                                                            16 cause of any alleged damage, injury or loss to Plaintiff, if any.
                                                            17                        SIXTEENTH AFFIRMATIVE DEFENSE
                                                            18         16.      Plaintiff’s recovery is barred because employees of a public entity are
                                                            19 immune from liability for discharging their mandatory duties with reasonable
                                                            20 diligence.
                                                            21                      SEVENTEENTH AFFIRMATIVE DEFENSE
                                                            22         17.      The answering Defendant, at all times relevant to this action, acted
                                                            23 reasonably and prudently under the circumstances. Answering Defendant therefore
                                                            24 asserts the individual peace officer’s Qualified Immunity from liability to the fullest
                                                            25 extent applicable.
                                                            26                       EIGHTEENTH AFFIRMATIVE DEFENSE
                                                            27         18.      The answering Defendant is immune from liability under the Federal
                                                            28 Civil Rights Act because she acted in good faith with an honest and reasonable

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                                                             1 belief that her actions were necessary and appropriate. The answering Defendant is
                                                             2 immune from liability under the Federal Civil Rights Act because a reasonable
                                                             3 police officer could believe that her actions and conduct was appropriate. The
                                                             4 answering Defendant is immune from liability under the Federal Civil Rights Act
                                                             5 because her conduct did not violate clearly established rights.         The answering
                                                             6 Defendant is also immune from liability under the doctrine of Qualified Immunity.
                                                             7                     NINETEENTH AFFIRMATIVE DEFENSE
                                                             8         19.   At all relevant times, the answering Defendant acted within the scope
                                                             9 of discretion, with due care, and a good faith fulfillment of responsibilities pursuant
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                                                            10 to applicable statutes, rules and regulation, within the bounds of reason, and with the
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                                                            11 good faith belief that her actions comported with all applicable federal and state
                                                            12 laws.
                                                            13                      TWENTIETH AFFIRMATIVE DEFENSE
                                                            14         20.   At the times and places referred to in Plaintiff’s TAC, and before such
                                                            15 event, Plaintiff knew, appreciated, and understood each and every risk involved in
                                                            16 placing herself in the position which Plaintiff then assumed, and willingly,
                                                            17 knowingly and voluntarily assumed each of such risks, including, but not limited to,
                                                            18 the risk of suffering personal bodily injury, or lawful deprivation of rights.
                                                            19                    TWENTY-FIRST AFFIRMATIVE DEFENSE
                                                            20         21.   The TAC is barred under the doctrine of collateral estoppel (issue
                                                            21 preclusion) and/or res judicata (claim preclusion).
                                                            22                  TWENTY-SECOND AFFIRMATIVE DEFENSE
                                                            23         22.   Answering Defendant alleges that any recovery by Plaintiff pursuant to
                                                            24 the Complaint and the purported causes of action contained therein, are governed,
                                                            25 controlled, and limited by the provisions of Civil Code § 1430, et seq., including but
                                                            26 not limited to §§ 1431 and 1432.
                                                            27                    TWENTY-THIRD AFFIRMATIVE DEFENSE
                                                            28         23.   The answering Defendant owed no legal duty to Plaintiff as described

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                                                             1 in Plaintiff’s TAC, or otherwise.
                                                             2                   TWENTY-FOURTH AFFIRMATIVE DEFENSE
                                                             3         24.    To the extent that Plaintiff suffered any detriment, such detriment was
                                                             4 unavoidable.
                                                             5                    TWENTY-FIFTH AFFIRMATIVE DEFENSE
                                                             6         25.    The answering Defendant asserts that Plaintiff is barred from pursuing
                                                             7 the claims set forth in her TAC by virtue of her lack of standing.
                                                             8                    TWENTY-SIXTH AFFIRMATIVE DEFENSE
                                                             9         26.    The answering Defendant is informed and believes and thereon alleges
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                                                            10 that the damages complained of in Plaintiff’s TAC, if any, resulted from an
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                                                            11 unforeseeable and superseding cause, thereby barring either partially or totally,
                                                            12 Plaintiff’s claimed damages herein. The answering Defendant is informed and
                                                            13 believes and thereon alleges that each and all of the purported causes of action and
                                                            14 theories of relief asserted by Plaintiff in the TAC is barred by virtue of an
                                                            15 independent intervening cause.
                                                            16                  TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                                                            17         27.    Plaintiff’s claims are barred for failure to join an indispensable party
                                                            18 under Federal Rule of Civil Procedure 19.
                                                            19                   TWENTY-EIGHTH AFFIRMATIVE DEFENSE
                                                            20         28.    At no time and place mentioned in the TAC, did the answering
                                                            21 Defendant act with deliberate indifference or malicious intent to deprive Plaintiff of
                                                            22 any Constitutional or legal right, or cause any other injury and, therefore, Defendant
                                                            23 is immune from liability.
                                                            24                    TWENTY-NINTH AFFIRMATIVE DEFENSE
                                                            25         29.    Plaintiff’s claims under the Federal Civil Right Act are barred because
                                                            26 the complaint fails to allege facts that go beyond mere tortious conduct and rise to
                                                            27 the level of a civil rights violation.
                                                            28 / / /

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                                                             1                        THIRTIETH AFFIRMATIVE DEFENSE
                                                             2         30.   Plaintiff’s claims are barred in that the conduct of the answering
                                                             3 Defendant was necessary for the defense of others.
                                                             4                    THIRTY-FIRST AFFIRMATIVE DEFENSE
                                                             5         31.   Plaintiff’s claims against Answering Defendant is barred by the
                                                             6 doctrine of consent.
                                                             7                  THIRTY-SECOND AFFIRMATIVE DEFENSE
                                                             8         32.   Plaintiff’s claims against Answering Defendant and requests for relief
                                                             9 are barred, in whole or in part, by her failure to exhaust remedies under the Prison
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                                                            10 Litigation Reform Act (“PLRA”).
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                                                            11                   THIRTY-THIRD AFFIRMATIVE DEFENSE
                                                            12         33.   Defendant alleges that the Plaintiff's claims are barred pursuant to 42
                                                            13 U.S.C. § 1997(e), 28 U.S.C. § 1915A, 28 U.S.C. § 1915(e) and/or or under the
                                                            14 Prisoner's Litigation Reform Act ("PLRA").
                                                            15                  THIRTY-FOURTH AFFIRMATIVE DEFENSE
                                                            16         34.   Defendant contends that Plaintiff's request for attorneys' fees as sought
                                                            17 in Plaintiff's TAC, is limited by the PLRA.
                                                            18                    THIRTY-FIFTH AFFIRMATIVE DEFENSE
                                                            19         35.   Answering Defendant alleges that the conduct, if any, which is the
                                                            20 subject of Plaintiff’s TAC was absolutely and/or conditionally legally privileged,
                                                            21 and/or justified. Further, all actions by Answering Defendant were in good faith and
                                                            22 reasonable.
                                                            23                    THIRTY-SIXTH AFFIRMATIVE DEFENSE
                                                            24         36.   Answering Defendant alleges that she is shielded from liability for civil
                                                            25 damages insofar as the conduct in this case did not violate any statutory or
                                                            26 constitutional right of which a reasonable person would have known.
                                                            27 / / /
                                                            28 / / /

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                                                             1                 RESERVATION OF AFFIRMATIVE DEFENSES
                                                             2        Because the Complaint is couched in vague and conclusory terms, the
                                                             3 answering Defendant cannot fully anticipate all affirmative defenses that may be
                                                             4 applicable to this action. Accordingly, the answering Defendant hereby reserves the
                                                             5 right to assert additional affirmative defenses, if and to the extent that such
                                                             6 affirmative defenses are applicable, and/or to withdraw affirmative defenses as may
                                                             7 be appropriate. The assertion of any of the foregoing is not intended and shall not
                                                             8 be construed as any stipulation regarding any shifting of the burden of proof to any
                                                             9 defendant regarding any of Plaintiff’s claims, or elements thereof.
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                                                            10        WHEREFORE, the answering Defendant prays for judgment as follows:
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                                                            11        1.     That Plaintiff take nothing by reason of her TAC, and that judgment be
                                                            12 entered in favor of Defendant;
                                                            13        2.     That Defendant recover her costs of suit incurred herein, including
                                                            14 reasonable attorneys' fees, and;
                                                            15        3.     For such other and further relief as the Court deems proper and just.
                                                            16
                                                            17 DATED: February 22, 2021             HURRELL CANTRALL LLP
                                                            18
                                                            19
                                                                                                    By: /s/ Neda Mohammadzadeh
                                                            20
                                                                                                        THOMAS C. HURRELL
                                                            21                                          NEDA MOHAMMADZADEH
                                                                                                        Attorneys for Defendant, SERGEANT
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                                                             1                          DEMAND FOR JURY TRIAL
                                                             2        Defendant SERGEANT INDIA INEZ respectfully demands a trial by jury on
                                                             3 all claims in the within action as provided by Federal Rules of Civil Procedure,
                                                             4 Rule 38(a) and (b).
                                                             5
                                                                 DATED: February 22, 2021        HURRELL CANTRALL LLP
                                                             6
                                                             7
                                                             8                                   By: /s/ Neda Mohammadzadeh
                                                             9                                       THOMAS C. HURRELL
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                                                            10                                       Attorneys for Defendant, SERGEANT
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                                                            11                                       INEZ
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